                          Case 18-11025-CSS      Doc 448      Filed 07/17/18       Page 1 of 2



                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter   11


Gibson Brands, Inc., et al.,l                               Case   No: 18-11025 (CSS)

                                    Debtors                 (Jointly Administered)

                                                            Hearing Date: N/A
                                                            Objection Deadline: July 16, 2018 at 4:00 p.m. (ET)

                                                            Ref. No.308


                                          CERTIFICATE OF NO OBJECTION

                The undersigned hereby certifies that, as of the date hereof, he has received no answer,

objection or other responsive pleading to the First Monthly Applicatíon of Lowenstein Sandler

LLp us Counsel to the OfficÍal Committee of Unsecured CredÍtors for Services Rendeted and

Reimbursement of Expenses Incumed                 for   the Period of May 9, 2018 through May 31' 2018

                                                                               certifies that
[D.t. 308] (the "Application"), filed on June 25,2018. The undersigned further
                                                                                                                  a


review of the Court's docket in this case reflects no answer, objection or other responsive

pleading to the Application. Pursuant to the notice, objections were to be filed and served no

later than July 16,2018.




 I The Debtors and the last four ctigits of their respective taxpayer identification numbers are as follows: Gibson
 Brands, tnc. (4520); Cakewalk, Iñc. (2a55); Consolidated Musical Instruments, LLC (a695); Gibson Café &"
 Gallery, LLC (043a); Gibson lntemational Sales LLC (175Ð; Gibson Pro Audio Corp. (30a2), Neat Audio
 ncquisition Corp. (37S4); Gibson Innovations USA, lnc. (a620); Gibson Holdings, lnc. (8455); Baldwin Piano, lnc.
 (O:il); Wurlitzér Corp.iOO:l); and Gibson Europe B.V. (Foreign). The Debtors'corporate headquarters is located
 at 309 Plus Park Blvd., Nashville, TN 37217.



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                       Case 18-11025-CSS        Doc 448   Filed 07/17/18    Page 2 of 2



           Pursuant           to the Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses of Professionals ]D.I.252) the Debtors are now authorized to pay

80% ($184,647.88) of the requested fees ($230.809.85) and 100% ($1,157.08) of the requested

expenses on an interim basis without further Court order.

Dated: July 17,2018                                                             OBB LLP
       Wilmington, Delaware

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                                                          -and-

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                                                           Counsel to the Official Committee
                                                           of Unsecured Creditors




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